                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION


                                              §
    In re:                                    §                       Chapter 11
                                              §
    Memory Care America, LLC                  §                       Lead Case No. 19-51385
                                              §
    MCA Mainstreet Tenant, LLC                §                       Case No. 19-51384
                                              §
    MCA Management Company, Inc.              §                       Case No. 19-51386
                                              §
    MCA Westover Hills, LLC                   §                       Case No. 19-51387
                                              §
    MCA Westover Hills Operating Company, LLC §                       Case No. 19-51380
                                              §
    MCA New Braunfels Operating Company, LLC §                        Case No. 19-51381
                                              §
    Memory Care at Good Shepherd, LLC         §                       Case No. 19-51383
                                              §
                                              §                       (Joint Administration Requested)
                                              §



             EMERGENCY MOTION OF DEBTORS FOR ENTRY OF AN ORDER
              DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

         Memory Care America, LLC (“MCA”) and its debtor affiliates, as debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

11 Cases”),1 respectfully state the following in support of this motion (this “Motion”):




1
     A detailed description of the Debtors and their businesses, and the facts and circumstances supporting the Debtors’
     Chapter 11 Cases, are set forth in greater detail in the Declaration of Kenneth Luccioni in Support of Chapter 11
     Petitions and First Day Motions (the “First Day Declaration”), filed contemporaneously with the Debtors’
     voluntary petitions for relief filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy
     Code”), on the date hereof (the “Petition Date”). Capitalized terms used, but not otherwise defined in this Motion
     shall have the meanings ascribed to them in the First Day Declaration.


17765302.2
PG-090-1
                                             RELIEF REQUESTED

             1.    The Debtors seek entry of an order (the “Order”), substantially in the form attached

hereto as Exhibit A, directing procedural consolidation and joint administration of these Chapter

11 Cases and granting related relief. The Debtors request that one file and one docket be

maintained for all of the jointly administered cases under the lead case of MCA and that the cases

be administered under a consolidated caption, as follows:

                               UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


                                                         §
    In re:                                               §       Chapter 11
                                                         §
    Memory Care America, LLC, et al.,1                   §       Case No. 19-51385
                                                         §
                               Debtors.                  §       (Jointly Administered)
                                                         §


             2.    The Debtors further request that this Court order that the foregoing caption satisfies

the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

             3.    The Debtors also request that a docket entry, substantially similar to the following,

be entered on the docket of each of the Debtors other than MCA to reflect the joint administration

of these Chapter 11 Cases:

                   “An order has been entered in this case directing the procedural
                   consolidation and joint administration of the chapter 11 cases of
                   Memory Care America, LLC and its affiliates that have concurrently
                   commenced chapter 11 cases. The docket in the chapter 11 case of


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: MCA Westover Hills Operating Company, LLC, 1960; MCA Mainstreet Tenant LLC,
      N/A; MCA Management Company, Inc., 3290; MCA New Braunfels Operating Company, LLC, 8045; MCA
      Westover Hills, LLC, 6181; Memory Care America, LLC, 9955; Memory Care at Good Shepherd, LLC, 1527.
      The Debtors’ mailing address is 2211 NW Military Highway, Suite 201, San Antonio, TX 78213.


17765302.2                                                   2
PG-090-1
               Memory Care America, LLC, Case No. 19-51385, should be
               consulted for all matters affecting this case.”

                                 JURISDICTION AND VENUE

         4.    This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C.

§ 1408.

         5.    The relief sought in this Motion is based upon section 105(a) of the Bankruptcy

Code, rule 1015 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule

1015(b) of the Local Court Rules of the United States Bankruptcy Court for the Western District

of Texas (the “Local Rules”).

                                         BACKGROUND

         6.    On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing the Chapter 11 Cases.

         7.    The factual background regarding the Debtors, including their business operations,

their capital and debt structures, and the events leading to the filing of the Chapter 11 Cases is set

forth in the First Day Declaration and incorporated herein by reference.

         8.    The Debtors continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

         9.    No trustee or examiner, or official committee of unsecured creditors has been

appointed in the Chapter 11 Cases.

                                      BASIS FOR RELIEF

         10.   Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending in the

same court by or against a debtor and an affiliate, “the court may order a joint administration of

the estates.” Here, each Debtor is a wholly-owned or majority-owned direct or indirect subsidiary



17765302.2                                        3
PG-090-1
of Trident Healthcare Properties I, L.P. The Debtors, therefore, are “affiliates” within the meaning

of section 101(2) of the Bankruptcy Code and, accordingly, this Court has the authority to grant

the requested relief pursuant to Bankruptcy Rule 1015(b).

         11.     Joint administration of these Chapter 11 Cases will ease the administrative burden

on this Court and all parties in interest. Joint administration of these Chapter 11 Cases will not

prejudice creditors or other parties in interest because joint administration is purely procedural and

will not impact the parties’ substantive rights.

         12.     Joint administration is generally non-controversial, and courts in this jurisdiction

routinely order joint administration in cases with multiple related debtors. See, e.g., In re Sanjel

(USA), Inc., et al., Case No. 16-50778 (Bankr. W.D. Tex. Apr. 5, 2016) [Dkt. No. 38]; In re

American Standard Energy, Corp., et al., Case No. 15-70104 (Bankr. W.D. Tex. Aug. 6, 2015)

[Dkt. No. 21]; In re Dune Energy, et al., Case No. 15-10336 (Bankr. W.D. Tex. Mar. 10, 2015)

[Dkt. No. 37].

         13.     In addition, in accordance with Local Rule 1015, the Debtors (1) have listed the

name and case number of each Debtor and each of the Chapter 11 Cases to be jointly administered

as set forth on the attached Exhibit B; (2) have set forth the proposed style and case number to be

used on subsequent pleadings if joint administration is ordered; (3) submit that no previous

administrative or scheduling orders have been filed in any of the Chapter 11 Cases that require

modification, and (4) submit that no amended mailing lists will need to be filed as the Debtors

have submitted a consolidated mailing matrix.

         14.     Accordingly, based on the foregoing facts and authorities, the Debtors submit that

the relief requested in this Motion should be granted.




17765302.2                                         4
PG-090-1
                                              NOTICE

         15.   Notice of this Motion shall be provided to: (1) Debtors, (2) Debtors’ counsel,

(3) counsel for the unsecured creditors’ committee (if any), (4) the United States Trustee, (5) all

secured creditors, (6) the Debtors’ consolidated list of 30 largest unsecured creditors, (7) the

Department of Medicaid, Department of Health, and Division of Health Services Regulation in

each state in which the Debtors operate Facilities, (8) any relevant governmental authority, and

(9) any party who has filed a notice of appearance.

         16.   The Debtors respectfully submit that such notice is sufficient and that no further

notice of this Motion is required.

                                      NO PRIOR REQUEST

         17.   No prior motion for the relief requested herein has been made to this or any other

court.

         WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit A, (i) directing the joint administration of these

Chapter 11 Cases and consolidating them for procedural purposes only pursuant to Bankruptcy

Code section 105(a), Bankruptcy Rule 1015(b), and Local Rule 1015-1; and (ii) granting such

other and further relief as the Court deems appropriate.

 Dated: June 4, 2019                                  LOEB & LOEB LLP
        Los Angeles, California
                                                      /s/ Bernard R. Given II
                                                      Bernard R. Given II
                                                      State Bar No. 07990180
                                                      10100 Santa Monica Blvd., Suite 2200
                                                      Los Angeles, CA 90067-4120
                                                      Telephone: 310-282-2000
                                                      Facsimile: 310-282-2200
                                                      Email: bgiven@loeb.com

                                                      -and-



17765302.2                                        5
PG-090-1
                 Daniel B. Besikof (Pro Hac Vice Pending)
                 Bethany D. Simmons (Pro Hac Vice Pending)
                 345 Park Avenue
                 New York, New York 10154
                 Telephone: 212-407-4000
                 Facsimile: 212-407-4990
                 Email: dbesikof@loeb.com
                         bsimmons@loeb.com

                 Proposed Counsel to the Debtors and Debtors
                 in Possession




17765302.2   6
PG-090-1
               Exhibit A

             Proposed Order




17765302.2
PG-090-1
                     UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION


                                            §
  In re:                                    §   Chapter 11
                                            §
  Memory Care America, LLC                  §   Lead Case No. 19-51385
                                            §
  MCA Mainstreet Tenant, LLC                §   Case No. 19-51384
                                            §
  MCA Management Company, Inc.              §   Case No. 19-51386
                                            §
  MCA Westover Hills, LLC                   §   Case No. 19-51387
                                            §
  MCA Westover Hills Operating Company, LLC §   Case No. 19-51380
                                            §
  MCA New Braunfels Operating Company, LLC §    Case No. 19-51381
                                            §
  Memory Care at Good Shepherd, LLC         §   Case No. 19-51383
                                            §
                                            §   (Joint Administration Requested)
                                            §


               ORDER (I) DIRECTING JOINT ADMINISTRATION OF
             CHAPTER 11 CASES, AND (II) GRANTING RELATED RELIEF




17765302.2
PG-090-1
         On June 4, 2019, Memory Care America, LLC (“MCA”), and certain of its affiliates, the

debtors and debtors-in-possession in the above-captioned cases (the “Debtors”) filed motions

entitled Emergency Motion of Debtors for Entry of an Order Directing Joint Administration of

Chapter 11 Cases in the above styled and numbered Chapter 11 cases seeking joint administration

of such cases (the “Motions”). The Court finds that notice was proper and that no party in interest

made any response in opposition to the Motions or, if so, the relief requested in any such response

was denied for the reasons stated on the record, and further finds that the relief requested in the

Motions should be granted.


         ACCORDINGLY, IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that

the Chapter 11 Cases of the Debtors be jointly administered in accordance with the terms of this

Order, as follows:

         1.     Nothing contained in this Order shall be construed as directing or otherwise

effecting a substantive consolidation of the bankruptcy cases of the Debtors; it is the Court’s

intention to jointly administer the bankruptcy cases of the Debtors for procedural purposes only;

         2.     MCA and the other above-captioned Debtors are to be jointly administered under

Case No.19-51385;

         3.     [Judge] shall preside over these jointly administered cases;

         4.     The joint caption of the Debtors cases shall read as shown in the attached Exhibit 1;

         5.     All original pleadings shall be captioned as set out above and all original docket

entries shall be made in the case of MCA;

         6.     All proofs of claim shall be filed under the case number representing the Debtor’s

estate against which the claim is made;




17765302.2                                        9
PG-090-1
         7.     Each of the Debtors shall (a) file separate monthly operating reports, (b) maintain

separate financial accounts and records except as allowed by further order of this Court, (c) not be

liable for the claims against any of the Debtors by virtue of this Order, and (d) file separate

Bankruptcy Schedules and Statements of Financial Affairs;

         8.     A docket entry shall be made in each of the Debtors’ cases substantially as follows:

“An order has been entered in this case directing the procedural consolidation and joint

administration of the chapter 11 cases of Memory Care America, LLC and its affiliates that have

concurrently commenced chapter 11 cases. The docket in the chapter 11 case of Memory Care

America, LLC, Case No. 19-51385, should be consulted for all matters affecting this case.”;

         9.     Debtors shall file a master service list in the MCA bankruptcy case, which includes

the (1) Debtors, (2) Debtors’ counsel, (3) counsel for the unsecured creditors’ committee (if any),

(4) the United States Trustee, (5) all secured creditors, (6) the Debtors’ consolidated list of 30

largest unsecured creditors, (7) the Department of Medicaid, Department of Health, and Division

of Health Services Regulation in each state in which the Debtors operate Facilities, (8) any relevant

governmental authority, and (9) any party who files a notice of appearance; and

         10.    This order shall be served by the Debtors on all parties included on the master

service list.


                                                ###

Submitted by:
Bernard R. Given II
State Bar No. 07990180
Loeb & Loeb LLP
10100 Santa Monica Blvd., Suite 2200
Los Angeles, CA 90067
Telephone: 310.282.2000
Facsimile: 310.282.2200
Email: bgiven@loeb.com



17765302.2                                       10
PG-090-1
                Exhibit 1

             Proposed Caption




17765302.2         11
PG-090-1
                               UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


                                                         §
    In re:                                               §    Chapter 11
                                                         §
    Memory Care America, LLC, et al.,1                   §    Case No. 19-51385
                                                         §
                               Debtors.                  §    (Jointly Administered)
                                                         §




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: MCA Westover Hills Operating Company, LLC, 1960; MCA Mainstreet Tenant LLC,
      N/A; MCA Management Company, Inc., 3290; MCA New Braunfels Operating Company, LLC, 8045; MCA
      Westover Hills, LLC, 6181; Memory Care America, LLC, 9955; Memory Care at Good Shepherd, LLC, 1527.
      The Debtors’ mailing address is 2211 NW Military Highway, Suite 201, San Antonio, TX 78213.


17765302.2
PG-090-1
                                        Exhibit B

                                  (Sorted Alphabetically)


  #       Debtor Name                                   EIN      Case No.
  1.     MCA Mainstreet Tenant, LLC                              19-51384
  2.     MCA Management Company, Inc.               XX-XXXXXXX   19-51386
  3.     MCA New Braunfels Operating Company,       XX-XXXXXXX   19-51381
  4.     LLC Westover Hills, LLC
         MCA                                        XX-XXXXXXX   19-51387
  5.     MCA Westover Hills Operating Company,      XX-XXXXXXX   19-51380
  6.     LLC
         Memory  Care America, LLC                  XX-XXXXXXX   19-51385
  7.     Memory Care at Good Shepherd, LLC          XX-XXXXXXX   19-51383




17765302.2
PG-090-1
